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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA            )
                                    )       CRIMINAL ACTION NO.
     v.                             )         2:17cr131-MHT
                                    )              (WO)
HANNAH SILAS                        )

                                ORDER

    Defense counsel having orally informed the court

that there is no objection, it is ORDERED that the

government’s      motion      for       leave    to     dismiss         the

superseding    indictment      as   to    defendant     Hannah    Silas

without prejudice (doc. no. 405) is granted.

    DONE, this the 1st day of March, 2018.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
